     Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 1 of 98


     Ashley M. Gjovik, JD
 1   Pro Se Plaintiff
 2   2108 N St. Ste. 4553
     Sacramento, CA, 95816
 3   (408) 883-4428
     legal@ashleygjovik.com
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                         UNITED STATES DISTRICT COURT
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 8                       NORTHERN DISTRICT OF CALIFORNIA
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                                        Case No. 3:23-CV-04597-EMC
12
13
     ASHLEY GJOVIK, an individual,      DECLARATION OF ASHLEY GJOVIK
14
                  Plaintiff,            IN SUPPORT OF PLAINTIFF’S
15
                  v.                    MOTION TO STRIKE
16
                                        AN IMPROPER AMICUS DECLARATION
17   APPLE INC, a corporation,
18                Defendant.            Dept: Courtroom 5, 17th Floor (Virtual)
19                                      Date: May 16, 2024
20                                      Time: 1:30 p.m.

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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S          APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
     Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 2 of 98


 1      I.        DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S
 2                     MOTION TO STRIKE AN IMPROPER AMICUS BRIEF
 3   Pursuant to 28 U.S.C.§ 1746, I, Ashley M. Gjovik, hereby declare as follows:
 4           1.     My name is Ashley Marie Gjovik. I am the self-represented Plaintiff in this above
 5
     captioned matter. I make this Declaration based upon my personal knowledge and in support of
 6
     Plaintiff’s Motion to Strike. I have personal knowledge of all facts stated in this declaration, and
 7
 8   if called to testify, I could and would testify competently thereto.

 9           2.     On January 31 2022, the non-party declarant who filed the Amicus Declaration at

10   Docket No. 62 requested a restraining order against me in the state of Washington. Attached as
11
     EXHIBIT A is a true and correct copy of the document.
12
             3.      On February 1 2022, a Judge in a Court of Limited Jurisdiction denied the non-
13
     party declarant’s ex part request for a temporary restraining order against me. Attached as
14
15   EXHIBIT B is a true and correct copy of the document.

16           4.     On February 14 2022, I filed my Reply brief in the lawsuit. Attached as EXHIBIT
17   C is a true and correct copy of the document
18
             5.     On February 25 2022, I filed a copy of a second witness statement in the lawsuit.
19
     Attached as EXHIBIT D is a true and correct copy of the document.
20
             6.     On February 28 2022, I filed a copy of a witness statement in the lawsuit. Attached
21
22   as EXHIBIT D is a true and correct copy of the document.

23           7.     On March 1 2022, the non-party declarant testified during the hearing. Attached as
24   EXHIBIT E is a true and correct copy of excerpts from the transcript.
25
             8.     On March 4 2022 and April 6 2022, law firms requested copies of the court records
26
     of non-party declarant’s lawsuit against me. One of the law firms is the same firm Apple hired to
27
28   defend it from my NLRB charges starting back in August of 2021. Attached as EXHIBIT F is a

     true and correct copy of the document
                                                          2
     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S                         APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
     Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 3 of 98


 1          9.      On June 31 2022, the US District Court of the Western District of Washington

 2   dismissed a Constitutional challenge lawsuit I had filed over the statute underlying non-party’s
 3
     lawsuit against me. Attached as EXHIBIT G and EXHIBIT H are a true and correct copy of the
 4
     documents.
 5
            10.     On September 26 2023 a state Superior Court Judge granted my appeal and
 6
 7   reversed the decision against me, finding it to be without merit. It was transmitted to the District

 8   Court on November 17 2022. Attached as EXHIBIT I is a true and correct copy of the document.
 9          11.     On December 2 2022, I filed a notice of intent to file motions if the case was
10
     remanded. Attached as EXHIBIT J is a true and correct copy of the document
11
            12.     On December 12 2022, a state District Court Judge agreed with the appellate
12
     decision, dismissed the case against me, and vacated the order. Attached as EXHIBIT K is a true
13
14   and correct copy of the document.

15          13.     On December 7 2022, Plaintiff’s successful appeal was discussed in three pages of
16   an amicus curiae brief for the SCOTUS Petition for Writ of Certiorari for Barton v State of Texas.1
17
     Attached as EXHIBIT L is a true and correct copy of pages 1-2 and 10-12 of the document.
18
            14.     I have reviewed each document and confirmed it is the true and correct copy of
19
20   each document mentioned herewithin this Declaration and the Motion to Strike. No documents

21   were altered or manipulated other than minor redactions . of home addresses and phone numbers

22   (Exhibit A), or annotations added to explain the document (Exhibit F), all of which should be self-
23
     apparent.
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28    Barton v State of Texas, Amicus Curiae Brief of Electronic Frontier Foundation in Support of
     Petitioners, https://www.supremecourt.gov/DocketPDF/22/22-430/249364/20221207141747388_22-
     430%20Amicus%20Electronic%20Frontier%20Foundation.pdf
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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S                         APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
     Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 4 of 98


 1          15.    I declare under penalty of perjury under the laws of the United States that the

 2   foregoing is true and correct and that this declaration was executed on APRIL 24 2024.
 3
 4
 5   Executed on: APRIL 24 2024
 6   Signature:
 7
 8
 9
10
11
     ___________________________
12
     s/ Ashley M. Gjovik
13
14   Pro Se Plaintiff

15
     Email: legal@ashleygjovik.com
16   Physical Address: Boston, Massachusetts
17   Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
     Phone: (408) 883-4428
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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S                     APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
     Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 5 of 98


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                                            A
     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S     APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
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       Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 17 of 98



                                 KING COUNTY DISTRICT COURT
                                     STATE OF WASHINGTON
                                    REDMOND COURTROOM 2
                                               No: 22CIV01704KCX
Cher Swan Scarlett,
                              Plaintiff(s),    MINUTE RECORD
       v.

Ashley Marie Gjovik,
                              Respondent(s).

Proceeding Date and Time: February 1, 2022 1:05 PM
Proceeding Type: Petition Hearing - Temporary Anti-Harassment Order
Proceeding Location: Redmond Courtroom 2
Judicial Officer: Lisa N. O'Toole
Court Clerk: Cory Dideum

APPEARANCES:
For Plaintiff(s): Cher Swan Scarlett,


For Defendant(s): Ashley Marie Gjovik,


NATURE OF PROCEEDING:

Update Scheduled Event - 02/01/2022 1:05 PM Petition Hearing - Temporary Anti-Harassment
Order / 411112 in Redmond Courtroom 2
Redmond Courtroom 2 02/01/2022 Hearing Start Time: 01:28 PM - Clerk CD
Judge Lisa N. O'Toole presiding
Petitioner Cher Swan Scarlett Present ProSe
Petitioner(s) Sworn
Temporary Order Denied
Set for Full Order Hearing
     Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 18 of 98


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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
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                            EXHIBIT D
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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
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                                                                     2/25/2022 4:14:48 PM
                                                                     22CIV01704KCX
STATEMENT:

February 17, 2022
Statement in support for Ashley Gjøvik.

       I, Barbara Dawn Underwood, contacted Ashley Gjøvik on August 9, 2021, on
LinkedIn. I had a similar experience with Apple Computers and wanted to connect. See
Addendum A.

       On August 24, 2021, I contacted Ashley on Signal, and in the following weeks, we
began to communicate via signal text and phone. See Addendum B.

        During this time and continuing up to the current date, I can attest to the following:

       When I would call Ashley, she would sound frustrated and distraught about Cheryl
Michelle Stewart (aka Cher Stewart, Cheryl Quinn, Cher Scarlett, or Cher Swan Scarlett).

       Ashley's main concern was that Cher was contacting reporters, editors, colleagues,
and supporters of Ashley. Cher used her considerable influence to silence Ashely and imply
Ashley was a liar.

       Nearly every phone call or communication with Ashley resulted in her almost in
tears over Cher's behavior. There were 3 or 4 times when Ashley said she almost gave up on
her NLRB and other charges against Apple, specifically due to Cher's behavior.

A few months later, Ashley spoke about defending herself publicly against Cher's
accusations. Ashley struggled with this decision. She was afraid of how it would affect both
Cher and her cases against Apple. She worried about how it would affect #AppleToo. She
worried most about retaliation from Cher. However, Ashely was also concerned about her
reputation and how it could negatively affect her when she became a human rights lawyer.

        A short time later, Ashley posted on Twitter about Cher's trying to silence her voice.
She posted a tweet by Cher admitting that she decided 'not to amplify' certain people's
voices. Ashley was one of those voices. I was not very active on Twitter, but I liked the post
and replied that I was sorry her voice was silenced. Cher immediately responded to me
privately and attempted to persuade me not to support Ashley. See Addendum C, and
Gjøvik’s Evidence pg. 80.

        Because of Apple, I knew what it was like to lose my job, and my home and I
decided to help promote Ashley's GoFundMe page. During one of my phone calls with
Ashley, I found out that Ashley was fired one week before receiving her bonus and stock
options. I also knew that I had seen social media posts where Cher was publicly persuading
PETITION FOR ORDER FOR PROTECTION - Statement page ____ of ____.
(9/2000) - RCW 26.50.030
   Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 36 of 98




people that Ashley would be 'fine financially' because she had no dependents. Within
minutes of my post on LinkedIn, Cher contacted me privately (on Twitter) and attempted to
persuade me not to support Ashley. She also implied that Ashley was a liar. See Addendum
D and E.

       I certify under penalty of perjury under the laws of the state of Washington that the
foregoing is true and correct.

DATED                                   at                                , _____________.
                Month, day, year                        City                     State




                                                Signature of Petitioner




PETITION FOR ORDER FOR PROTECTION - Statement page ____ of ____.
(9/2000) - RCW 26.50.030
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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
         Case
          Case2:22-cv-00807-RAJ-BAT Document
                3:23-cv-04597-EMC Document   11-1Filed
                                           64-1     Filed 06/21/22Page
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     March 1 2022 Transcript: Page 37
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     EMR. MOTION FOR. INJ,                            PO BOX 119 SANTA CLARA, CA 95050
25   CASE NO. 2:22-CV-00807-RAJ-BAT                                      (408) 883-4428
                                           - 11 -
         Case
          Case2:22-cv-00807-RAJ-BAT Document
                3:23-cv-04597-EMC Document   11-1Filed
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25   CASE NO. 2:22-CV-00807-RAJ-BAT                                      (408) 883-4428
                                           - 12 -
         Case
          Case2:22-cv-00807-RAJ-BAT Document
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     March 1 2022 Transcript: Page 44
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     March 1 2022 Transcript: Page 12-13
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     EMR. MOTION FOR. INJ,                            PO BOX 119 SANTA CLARA, CA 95050
25   CASE NO. 2:22-CV-00807-RAJ-BAT                                      (408) 883-4428
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     Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 43 of 98


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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
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Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 45 of 98
12/9/22, 1:37 PM           Case 3:23-cv-04597-EMC Document
                                                     Apple, Inc.64-1
                                                                | NationalFiled  04/24/24
                                                                          Labor Relations Board Page 46 of 98


               NLRB National Labor
                                                                                                                                                                                           MENU
               Relations Board


           Home

                     Case Search
                       Results

           Apple, Inc.

                                                                                                                                                                E-File       Follow


           Case Number: 32-CA-282142                                                                                                     Location: Sunnyvale, CA
           Date Filed: 08/26/2021                                                                                                        Region Assigned: Region 32, Oakland, California
           Status: Open



           Docket Activity                                                                                                                               Items per page    10


           Date                                Document                                                                                Issued/Filed By

            04/04/2022                         Amended Charge Letter*                                                                   NLRB - GC
            04/04/2022                         Amended Charge Letter*                                                                   NLRB - GC
            04/01/2022                         Signed Amended Charge Against Employer*                                                  Charging Party
            08/30/2021                         Initial Letter to Charged Party*                                                         NLRB - GC
            08/30/2021                         Initial Letter to Charging Party*                                                        NLRB - GC
            08/26/2021                         Signed Charge Against Employer*                                                          Charging Party

           The Docket Activity list does not reflect all actions in this case.

           * This document may require redactions before it can be viewed. To obtain a copy, please file a request through our FOIA Branch.

           FOIA Records

              NLRB-2021-001319
              NLRB-2021-001318

           Related Documents

           Related Documents data is not available.

           Allegations


                   8(a)(1) Coercive Statements (Threats, Promises of Benefits, etc.)
                   8(a)(1) Concerted Activities (Retaliation, Discharge, Discipline)

           Participants

           Participant                                                    Address                                                      Phone

            Charged Party / Respondent                                     415 Mission Street, Suite 5600                               (628)218-3826
            Legal Representative                                           San Francisco, CA
            Foster, Christopher                                            94105
            McDermott Will & Emery LLP

            Charged Party / Respondent                                     415 Mission Street, Suite 5600                               (415)590-5120
            Legal Representative                                           San Francisco, CA
            Holland, Ronald                                                94105-2533
            McDermott Will & Emery LLP

            Charged Party / Respondent                                     415 Mission Street                                           (628)218-3804
            Legal Representative                                           Suite 5600
            Mannan, Syed                                                   San Francisco, CA
            McDermott Will & Emery LLP                                     94105

            Charged Party / Respondent                                     Cupertino, CA
            Employer                                                       95014
            Apple, Inc.


            Charging Party
            Individual


           Related Cases
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           Case Number: 32-CA-282142                                                                                                     Location: Sunnyvale, CA
           Date Filed: 08/26/2021                                                                                                        Region Assigned: Region 32, Oakland, California
           Status: Open



           Docket Activity                                                                                                                               Items per page    10


           Date                                Document                                                                                Issued/Filed By

            04/04/2022                         Amended Charge Letter*                                                                   NLRB - GC
            04/04/2022                         Amended Charge Letter*                                                                   NLRB - GC
            04/01/2022                         Signed Amended Charge Against Employer*                                                  Charging Party
            08/30/2021                         Initial Letter to Charged Party*                                                         NLRB - GC
            08/30/2021                         Initial Letter to Charging Party*                                                        NLRB - GC
            08/26/2021                         Signed Charge Against Employer*                                                          Charging Party

           The Docket Activity list does not reflect all actions in this case.

           * This document may require redactions before it can be viewed. To obtain a copy, please file a request through our FOIA Branch.

           FOIA Records

              NLRB-2021-001319
              NLRB-2021-001318

           Related Documents

           Related Documents data is not available.

           Allegations


                   8(a)(1) Coercive Statements (Threats, Promises of Benefits, etc.)
                   8(a)(1) Concerted Activities (Retaliation, Discharge, Discipline)

           Participants

           Participant                                                    Address                                                      Phone

            Charged Party / Respondent                                     415 Mission Street, Suite 5600                               (628)218-3826
            Legal Representative                                           San Francisco, CA
            Foster, Christopher                                            94105
            McDermott Will & Emery LLP

            Charged Party / Respondent                                     415 Mission Street, Suite 5600                               (415)590-5120
            Legal Representative                                           San Francisco, CA
            Holland, Ronald                                                94105-2533
            McDermott Will & Emery LLP

            Charged Party / Respondent                                     415 Mission Street                                           (628)218-3804
            Legal Representative                                           Suite 5600
            Mannan, Syed                                                   San Francisco, CA
            McDermott Will & Emery LLP                                     94105

            Charged Party / Respondent                                     Cupertino, CA
            Employer                                                       95014
            Apple, Inc.


            Charging Party
            Individual


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           Apple, Inc.

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           Date Filed: 01/10/2022                                                                                                        Region Assigned: Region 32, Oakland, California
           Status: Open



           Docket Activity                                                                                                                               Items per page     10


           Date                                Document                                                                                Issued/Filed By

            01/12/2022                          Initial Letter to Charging Party*                                                       NLRB - GC
            01/12/2022                          Initial Letter to Charged Party*                                                        NLRB - GC
            01/10/2022                          Signed Charge Against Employer*                                                         Charging Party

           The Docket Activity list does not reflect all actions in this case.

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           FOIA Records

              NLRB-2022-000532

           Related Documents

           Related Documents data is not available.

           Allegations


                   8(a)(1) Coercive Statements (Threats, Promises of Benefits, etc.)
                   8(a)(1) Coercive Actions (Surveillance, etc)
                   8(a)(4) Discipline

           Participants

           Participant                                                    Address                                                      Phone

            Charged Party / Respondent                                     415 Mission St                                               (628)218-3829
            Legal Representative                                           Ste 5600
            Holland, Ronald                                                San Francisco, CA
            McDermott Will & Emory LLP                                     94105-2616

            Charged Party / Respondent                                     Cupertino, CA
            Employer                                                       95014
            Apple, Inc.


            Charging Party
            Individual


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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
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1                                                        HONORABLE RICHARD A. JONES
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8                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
9                                    AT SEATTLE
10   ASHLEY GJOVIK,
11                Plaintiff,
                                                       Case No. 2:22-cv-00807-RAJ-BAT
12          v.
                                                       ORDER DENYING MOTION
13   STATE OF WASHINGTON, et al.,                      FOR EMERGENCY
                                                       INJUNCTIVE RELIEF
14                Defendants.
15
16         This matter comes before the Court on Plaintiff’s emergency motion for a temporary

17   restraining order (TRO). Dkt. # 1. For the reasons below, the Court DENIES Plaintiff’s

18   motion and determines that this action is barred under the Rooker–Feldman doctrine, see

19   Exxon Mobil Corp. v. Saudi Basic Indust. Corp., 544 U.S. 280, 291 (2005), and the Anti–

20   Injunction Act, 28 U.S.C. § 2283. Therefore, the Court finds that it lacks subject matter

21   jurisdiction over this case and DISMISSES the action.

22                                    I. BACKGROUND

23          Plaintiff asks the Court to enjoin Defendants from enforcing an anti-harassment

24   order issued against her. Dkt. # 11. That order, issued after a hearing in King County

25   Superior Court, directs Plaintiff not to contact, surveil, or come within 1,000 feet of her

26   former co-worker at Apple, Inc. Dkt. # 1-1 at 13. The order also prevents Plaintiff from

27   making “any statements or posts” about her former co-worker on social media. Id.

28
     ORDER – 1
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             Plaintiff was terminated from employment at Apple on September 9, 2021, and
1
     alleges that she was not informed of the reason. Dkt. # 1 (Compl.) ¶ 34. Around this same
2
     time, Plaintiff complained about Apple to the National Labor Relations Board, the Equal
3
     Employment Opportunity Commission, and the California Department of Fair
4
     Employment and Housing relating to potential violations of labor and anti-discrimination
5
     law. See Dkt. # 10 at 3-7. In defending some of these allegations, Apple claimed that
6
     Plaintiff’s former co-worker made a complaint about her disclosing confidential
7
     information, and that complaint formed the basis upon which Plaintiff was terminated. Id.
8
     ¶ 36.
9
             The relationship between Plaintiff and the former co-worker deteriorated, and both
10
     began posting about each other on various social media and other channels. Id. ¶¶ 35, 40-
11
     46. Ultimately, on January 31, 2022, the former co-worker petitioned for an anti-
12
     harassment protection order to protect against alleged unlawful harassment by Plaintiff.
13
     Compl. ¶ 51; Dkt. # 1-1 at pp. 5-10. The petition alleges that Plaintiff engaged in “targeted
14
     harassment,” including “by posting defamatory content and other false statements” on her
15
     Twitter account. Dkt. # 1-1 at 5-10. The petition further alleges that Plaintiff engaged in
16
     “cyberstalking” and “publish[ed] personal and private information about [the former co-
17
     worker] … on her Twitter account with the malicious intention of stoking her followers”
18
     to continue the harassment. Id. King County Superior Court issued the anti-harassment
19
     order against Plaintiff on March 1, 2022. Id. at 12-13. The Complaint makes clear that the
20
     state court matter is still ongoing pending appeal. Compl. ¶¶ 210, 221, 269.
21
             Plaintiff instituted the current lawsuit on June 9, 2022. Dkt. # 1. Her motion for
22
     emergency relief, filed on June 21, 2022, argues that the anti-harassment order is contrary
23
     to law on various constitutional and statutory grounds and asks this Court to enjoin its
24
     enforcement and the state court proceedings. Dkt. # 11 at 26. Pursuant to Local Rule
25
     65(b)(5), Defendants filed a notice indicating their intent to oppose the motion on June 22,
26
     2022. Dkt. # 13. Defendants opposed Plaintiff’s motion within 48 hours as required by
27
28   ORDER – 2
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     Local Civil Rule 65(b)(5). Dkt. # 14.
1
2                                       II. DISCUSSION
3           Under the Rooker–Feldman doctrine, district courts lack jurisdiction to review
4    state court judgments. The Supreme Court’s appellate jurisdiction over state-court
5    judgments, granted in 28 U.S.C. § 1257, is exclusive and “precludes a United States
6    district court from exercising subject matter jurisdiction in an action it would otherwise
7    be empowered to adjudicate....” Exxon Mobil Corp. v. Saudi Basic Indust. Corp., 544
8    U.S. 280, 291 (2005). Plaintiff’s complaint was filed in direct response to the Superior
9    Court anti-harassment order, and is not an instance of concurrent jurisdiction. Id. at 292.
10          “It is a forbidden de facto appeal under Rooker-Feldman when the plaintiff in
11   federal district court complains of a legal wrong allegedly committed by the state court,
12   and seeks relief from the judgment of that court.” Noel v. Hall, 341 F.3d 1148, 1163 (9th
13   Cir. 2003). The doctrine bars suits “brought by state-court losers complaining of injuries
14   caused by state-court judgments rendered before the district court proceedings
15   commenced and inviting district court review and rejection of those judgments.” Exxon
16   Mobil Corp., 544 U.S. at 284. The doctrine applies “not only to final judgments, but also
17   to ‘interlocutory state court decisions.’ ” Santos v. Superior Court of Guam, 711 F. App’x
18   419, 420 (9th Cir. 2018) (quoting Doe & Assocs. Law Offices v. Napolitano, 252 F.3d
19   1026, 1030 (9th Cir. 2001)).
20          Plaintiff’s lawsuit, which principally seeks to enjoin the King County anti-
21   harassment order and further state court proceedings, falls squarely within purview of the
22   Rooker-Feldman doctrine. The constitutional issues raised in the complaint are also
23   “inextricably intertwined” with the anti-harassment order and therefore also barred by the
24   Rooker-Feldman doctrine. See, e.g., Noel, 341 F.3d at 1157 (“[I]f the constitutional
25   claims presented to a United States district court are inextricably intertwined with the
26   state court’s denial in a judicial proceeding … then the district court is in essence being
27   called upon to review the state-court decision. This the district court may not do.”)
28   ORDER – 3
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1    (quoting District of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 483 n. 16
2    (1983)).
3           The Rooker-Feldman doctrine is not Plaintiff’s only problem. The Anti-Injunction
4    Act precludes “grant[ing] an injunction to stay proceedings in a State court except as
5    expressly authorized by Act of Congress, or where necessary in aid of its jurisdiction, or to
6    protect or effectuate its judgments.” 28 U.S.C. § 2283. As such, this Court may not grant
7    an injunction to stay the King County Superior Court proceedings, or issue any declaratory
8    relief “if those judgments have the same effect as an injunction.” California v. Randtron,
9    284 F.3d 969, 975 (9th Cir. 2002). All of Plaintiff’s claims stem from the entry and
10   enforcement of the anti-harassment protection order in an ongoing state court matter. Such
11   requests for relief are straightforwardly barred by the Anti-Injunction Act.
12                                     III. CONCLUSION
13          In conclusion, because the Court finds that it is divested of subject matter
14   jurisdiction, pursuant to Rooker–Feldman and the Anti-Injunction Act, the Court cannot
15   grant the relief sought by Plaintiff. As such, the Court hereby:
16          1. DENIES Plaintiff’s Motion for Temporary Restraining Order (ECF No. 11) and
17   all other pending motions (ECF Nos. 12, 16) as moot; and
18          2. DISMISSES Plaintiff’s complaint for lack of subject matter jurisdiction.
19          The clerk is directed to close this case.
20          IT IS SO ORDERED.
21
            DATED this 28th day of June, 2022.
22
23
24
                                                        A
                                                        The Honorable Richard A. Jones
25
                                                        United States District Judge
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28   ORDER – 4
     Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 54 of 98


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                           EXHIBIT H
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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
                2:22-cv-00807-RAJ-BAT
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1                                                        HONORABLE RICHARD A. JONES
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                             UNITED STATES DISTRICT COURT
11                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
12
     ASHLEY GJOVIK,
13
                   Plaintiff,
14                                                     Case No. 2:22-cv-00807-RAJ-BAT
            v.
15                                                     ORDER DENYING
     STATE OF WASHINGTON, et al.,                      PLAINTIFF’S MOTION
16                                                     FOR RECONSIDERATION
                   Defendants.
17
18
19                                I. INTRODUCTION
            This matter comes before the Court on Plaintiff’s Motion for Reconsideration
20
     (“Motion”). Dkt. # 22. Having considered the Motion, the relevant portions of the record,
21
     and the applicable law, the Court finds that oral argument is unnecessary. For the reasons
22
     below, the Court DENIES the Motion.
23
24                                      II. DISCUSSION

25          Motions for reconsideration are disfavored and will be granted only upon a

26   “showing of manifest error in the prior ruling” or “new facts or legal authority which could

27   not have been brought to [the court’s] attention earlier with reasonable diligence.” Local

28   ORDER – 1
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1    R. W.D. Wash. (“LCR”) 7(h)(1).
2           The Court rejects Plaintiff’s contention the Court should reconsider its dismissal
3    order. There is no merit to Plaintiff’s argument that the Court has jurisdiction because of
4    federal preemption. Similarly, there is no merit to the argument that 18 U.S.C. § 1514
5    renders the Anti-Injunction Act inapplicable, and or that the Court can grant relief under
6    the All Writs Act.
7           A.       Preemption
8           “Federal preemption occurs when: (1) Congress enacts a statute that explicitly
9    preempts state law; (2) state law actually conflicts with federal law; or (3) federal law
10   occupies a legislative field to such an extent that it is reasonable to conclude that Congress
11   left no room for state regulation in that field.” Hendricks v. StarKist Co., 30 F. Supp. 3d
12   917, 925 (N.D. Cal. 2014) (quoting Chae v. SLM Corp., 593 F.3d 936, 941 (9th Cir. 2010)).
13          Here, Plaintiff contends she has open complaints with the NLRB, the SEC, the
14   Department of Justice, the Department of Labor, and the California State Department of
15   Labor, regarding various alleged violations committed by her former employer, Apple, Inc.
16   and some of Apple Inc.’s employees. Plaintiff argues the state district court based its
17   rulings based upon unsubstantiated allegations and based upon Plaintiff’s “legal filings.”
18   Dkt. 18 at 5-6. Plaintiff contends this “intrudes” upon the NLRB’s and other federal
19   jurisdiction.
20          Plaintiff’s claim of preemption fails. None of the three factors set forth in Hendricks
21   v. Starkist Co., applies to this case. Rather this case involves a complaint seeking to
22   invalidate a state statute. A party seeking to invalidate a state law based on preemption
23   bears the considerable burden of overcoming the presumption that Congress does not
24   intend to supplant state law. Stengel v. Medtronic, 704 F.3d 1224, 1227–28 (9th Cir. 2013)
25   (en banc) (citation and internal quotation marks omitted). There is nothing showing
26   Congress intended to supplant Washington State’s statutes on harassment protection
27   orders, or the sanctions for violating such orders. The fact Plaintiff believes the order
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1    interferes with her ability to present complaints to various federal agencies does not create
2    federal jurisdiction based on preemption here.
3           And, as Defendants point out, Olson Farms Inc. v. Barbosa, 134 F.3d 933, 938 (9th
4    Cir. 1998) cuts against Plaintiff’s requests. The Court in Olson Farms indicated a Federal
5    District Court has no authority to review the final determinations of a state court in judicial
6    proceedings, even those that touch upon federal rights. Id. at 937.
7           Plaintiff also argues the claims she has presented to the various federal agencies are
8    meritorious. Whether her claims are meritorious or not does not mean her requests to bar
9    the state harassment orders against her are preempted by federal law. Next, Plaintiff argues
10   she has a private right of preemption, Dkt. 18 at 7, under Independent Living Center of
11   Southern California, Inc. v. Shewy, 543 F.3d 1050 (9th Cir. 2008). But Independent Living
12   Center involved the federal Medicaid Act, which sets forth detailed requirements for state
13   medicare plans. The Court in Independent Living Center concluded there was a valid cause
14   of action under the Supremacy Clause to assert injunctive relief because the action alleged
15   a conflict between the federal Medicaid Act and the state Medicaid plan. The facts of
16   Independent Living are wholly distinguishable from this case and not a basis for Plaintiff’s
17   motions for injunctive relief.
18          The Court accordingly rejects Plaintiff’s contention that federal law preempts and
19   nullifies the doctrines under Younger and Rooker-Feldman, or the Anti-Injunction Act.
20          B.     18 U.S.C. § 1514 and the All Writs Act
21          Plaintiff also argues the Court may act under 18 U.S.C. § 1514. Section 1514
22   authorizes a federal district court, upon application of the attorney for the government to
23   issue a temporary restraining order (§1514(a)), or on its own motion to issue a protective
24   order of a victim or witness in a federal criminal case or investigation § 1514(b). Section
25   1514 is not in play here. What is in play is Plaintiff’s request for this Court to issue an
26   injunction barring application and enforcement against her of a state harassment protection
27   order that was issued by a state judge and is on review in the state courts. That request is
28   ORDER – 3
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1    barred by the Anti-Injunction Act for the reasons set forth in the dismissal order. Dkt. 21
2    at 4. Additionally, while Plaintiff has styled herself as a “witness” for the Government of
3    the United States, § 1514(a) requires the attorney for the government to request a temporary
4    restraining order. The language of the statute does not indicate an individual can
5    individually request for a restraining order absent a request by the government lawyer. That
6    the attorney for the government must recognize an individual as a “witness” who might fall
7    under § 1514 is critical because the Court does not represent the government, and unless
8    the government lawyer even recognizes Plaintiff as a protected witness, the Court declines
9    to grant a TRO on its own initiative under § 1514(b).
10          And lastly, Plaintiff claims the Court has jurisdiction to provide relief under the All
11   Writs Act, 28 U.S.C. § 1651(a). The Act authorizes a court to employ extraordinary writs
12   but confines that authority to the issuance of process in aid of the issuing court’s
13   jurisdiction. Clinton v. Goldsmith, 526 U.S. 529, 534 (1999) (quoting § 1651(a)). The All
14   Writs Act is an “extraordinary remedy,” and it does not “enlarge” a court’s jurisdiction.
15   Clinton, 526 U.S. at 534-35. A court may utilize the All Writs Act, only to issue writs
16   “necessary or appropriate in aid of” its existing jurisdiction. See id. (quoting 28 U.S.C. §
17   1651(a)). Additionally, the Act does not create any substantive federal jurisdiction but
18   merely codifies federal courts’ inherent power to protect the jurisdiction they already have,
19   derived from some other source. See Does # 1 v. Trump, 458 F.Supp.3d 1220, 1223 (D. Or.
20   2020) (citing Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1099 (11th Cir. 2004)). The
21   All Writs Act is inapplicable because this is clearly not a situation in which the Writ in
22   necessary or appropriate in aid of the Court’s jurisdiction. And as noted above, the Writ
23   itself does not create federal jurisdiction that does not already exist. The Court concludes
24   the All Writs Act is not grounds for this Court to act as Plaintiff desires.
25          Having found no manifest errors of law or fact in the dismissal order for lack of
26   subject matter jurisduiction, the Court DENIES Plaintiff’s motion.
27
28   ORDER – 4
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1                                  III. CONCLUSION
2         For the reasons stated above, the Court DENIES Plaintiff’s Motion.
3
          DATED this 28th day of June, 2022.
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                                                  A
                                                  The Honorable Richard A. Jones
7
                                                  United States District Judge
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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
         Case 3:23-cv-04597-EMC Document 64-1 Filed 04/24/24 Page 82 of 98

                                                              12/2/2022 8:30:00 AM
                                                              22CIV01704KCX
 1   Ashley M. Gjovik (pro se)

 2
 3
 4
             IN THE KING COUNTY DISTRICT COURT
            IN AND FOR THE STATE OF WASHINGTON
 5
 6                    East Division, Redmond Courthouse
 7
 8
                                      KC DC No.: 22CIV01704KCX
 9                                    Court of Limited Jurisdiction
                                      Honorable Judge Lisa O’Toole
10
     CHER SCARLETT, et al             APPEALS & CHALLENGES:
11                                    KC SUPERIOR COURT NO: 22-2-03849 SEA
     Petitioner/Appellee,
12                                    US DC AT SEATTLE NO: 2:22-CV-00807-RAJ-BAT

13
            v.                        Re: Reverse & Remand of
14
                                      Anti-Harassment Order
15
16   ASHLEY GJOVIK                    Notice of Intention to File Motions upon Remand:
17                                    Motion for Dismissal with Prejudice
     Respondent/Appellant.
                                       - RCW 4.105.* - Unif. Public Expression Prot. Act
18                                     - RCW 4.24.510 – Comm to Gov Agency
19                                     - CRLJ12(h)(3) - Lack of Subject Matter Jurisdiction
                                       - CRLJ13(a) - Inability to Join Indispensable Party
20                                     - CRLJ12(h)(2) - Failure to State a Claim
                                       - RCW 49.32.050 – Jurisdiction of Labor Disputes
21
                                      Motions for Sanctions
22                                     - Rule 11 Sanctions – Abusive Litigation
23                                     - RCW 4.84.185 – Fines for Frivolous Claims

24                                    Motion for Relief from Judgement/Proceeding
                                       - CRLJ60(b)(1)&(4) – Surprise, Irregularity, Fraud,
25                                        Misrepresentation, Misconduct
                                       - CRLJ60(b)(5) – Judgement is Void
26                                     - CRLJ60(b)(11) – Equity (Unclean Hands)
27
28
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                    King County District Court, Court of Limited Jurisdiction
              RE: REVERSE & REMAND OF ANTI-HARASSMENT ORDER AGAINST ASHLEY GJOVIK

 1
 2                                   Notice of Intent Upon Remand
 3                                     1.       Summary & Case History
 4            The King County Superior Court reversed the prior judgement against Gjovik on
 5   September 26 2022 & send a mandate to the Court of Limited Jurisdiction for reverse and
 6   remand on November 17 2022.
 7            This unfortunate matter was injected into the King County court system by Petitioner,

 8   Cher Scarlett, by her own admittance & under oath, because of an US NLRB charge Ashley
     Gjovik filed against Apple in January 2021 (2/1 Transcript), and further, Scarlett claimed
 9
     Gjovik’s supposed “harassment” of Scarlett started in early December 2021 when Gjovik had
10
     complained that “[Scarlett] was bullying [Gjovik].” (3/1 Transcript, pg 11). The crux of this
11
     lawsuit is Scarlett complaining that Gjovik’s complaints of Scarlett’s harassment & defamation
12
     of Gjovik, are somehow harassment of Scarlett.
13
              Gjovik began reporting Apple Inc to the federal government in April of 2021 and filed
14   her first formal charges against Apple in August of 2021. Scarlett began attacking Gjovik in June
15   of 2021, escalating to public attacks in August of 2021, and then filed her own charges against
16   Apple in September of 2021 which she later withdrew and accepted a settlement & payment
17   from Apple around November 2021. Gjovik began to block Scarlett from communicating with
18   her in August 2021 and completely blocked Scarlett in September 2021. Gjovik filed additional
19   California and federal charges against Apple in January 2022 alleging witness intimidation and

20   retaliation by a number of past and current Apple employees and managers, including but not at
     all limited to, Scarlett. Scarlett continued to attack Gjovik and Gjovik’s cases against Apple for
21
     over a year, including this meritless and retaliatory litigation at hand.1
22
              Much new evidence has come to light following the initial decision against Gjovik in this
23
     court, evidence which appears to begin to explain Scarlett’s otherwise inexplicable and obsessive
24
     conduct towards Gjovik and further supports Gjovik’s accusations of Apple Inc’s culpability and
25
     liability for Scarlett’s actions, including this lawsuit. Perhaps most important was the discovery
26   in mid-March 2022, disclosed by Apple Inc & after Gjovik’s gag-order, that Scarlett had filed a
27
28   1
      See docket & court filings for this matter, for the Superior Court appeal, and in Gjovik’s attempted Constitutional
     Challenge in US District court – including Scarlett’s own statements, briefs, & evidence

     NO. 22CIV01704KCX                                                                ASHLEY M. GJOVIK (PRO SE)
                                                        Page 2 of 9
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                   King County District Court, Court of Limited Jurisdiction
             RE: REVERSE & REMAND OF ANTI-HARASSMENT ORDER AGAINST ASHLEY GJOVIK

 1   “Business Conduct” complaint against Gjovik to Apple on September 15 2021, while Scarlett
 2   still worked for Apple Global Security & Legal, alleging Gjovik had violated some Apple policy

 3   & included personal communications between Scarlett and Gjovik resulting from Scarlett

 4   requesting private information from Gjovik about Gjovik’s dispute with Apple. (See Superior
     Court Exhibits). None of the information provided by Scarlett was actually material to Gjovik’s
 5
     cases, as admitted by Scarlett. However, under information & belief, Scarlett submitted this
 6
     complaint & provided this information to Apple as part of her settlement agreement. At the same
 7
     time Scarlett had been speaking to the press & making public statements requesting additional
 8
     whistleblowers contact her and provide her with private information about their own disputes
 9   with Apple.
10           Regardless of Scarlett’s intentions with the second point, it is clear she became obsessed
11   with covering up what she did to Gjovik as it would cause much controversy with her now being
12   held out as a “labor leader” among Apple employees.2 As such, Scarlett set out to discredit both
13   Gjovik and Gjovik’s charges against Apple, no doubt in hope that Gjovik’s case would never be
14   decided on the merits where it may come to light what Scarlett did in September of 2021. This

15   lawsuit is clearly part of Scarlett’s cover-up and is an extension of her self-admitted long-running

16   history of fraud. (see Scarlett’s own court filings noting check fraud, student loan fraud, business
     fraud, etc). Scarlett made much of Gjovik’s comments about Scarlett’s husbands criminal record,
17
     but failed to disclose the crux of Gjovik’s concerns about Scarlett’s husband –his criminal record
18
     included making false statements & obstruction of law enforcement, & this was directly relevant
19
     to Gjovik’s allegations of fraud by Scarlett.
20
             Under information & belief, Apple orchestrated the situation to manipulate Scarlett into
21   attacking Gjovik in ways that benefited Apple but which Scarlett may have believed were for her
22   own self-preservation due to Apple’s coercion. As such, and discussed later, Apple is an
23   indispensable party in this matter – and the primary and exclusive jurisdiction for this matter is
24   the California and federal agencies where this matter was under review long before Scarlett
25   injected this dispute into the Washington court system – wasting much time & resources within
26   the Washington court system, as well as implicating the state of Washington in Apple &

27   Scarlett’s witness intimidation efforts against Gjovik.

28   2
      The Washington Post, “She pulled herself from addiction by learning to code. Now she’s leading a worker
     uprising at Apple.” Oct 14 2021

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                     King County District Court, Court of Limited Jurisdiction
                RE: REVERSE & REMAND OF ANTI-HARASSMENT ORDER AGAINST ASHLEY GJOVIK

 1             Without this information, and after hours of manipulative, fraudulent, and highly
 2   inflammatory testimony by Scarlett - this Court of Limited Jurisdiction decided against Ashley

 3   Gjovik on March 1 2022. Gjovik appealed the decision to the King County Superior Court,

 4   raising 16 issues and errors from this trial court. Gjovik also brought the matter to a U.S. District
     Court arguing preemption & challenging the state of Washington’s anti-harassment statutes as
 5
     violating the U.S. Constitution facially & applied, however Gjovik’s case was dismissed under
 6
     the Rooker-Feldman Doctrine as a state appeal was underway. 3
 7
               On September 26 2022, after reviewing the briefs and trial record and only deciding on a
 8
     subset of the raised issues, a Superior Court judge issued an order reversing the decision of the
 9   Court of Limited Jurisdiction and finding Gjovik’s conduct to be “protected per case law and
10   constitutional protections.” (KCSC Order pg 15). 4 Even without reviewing Gjovik’s allegations
11   or evidence of Scarlett’s fraud, unclean hands, or the court’s lack of subject matter jurisdiction -
12   Superior Court Judge Robertson found the Court of Limited Jurisdiction’s ruling still “amounted
13   to an unconstitutional prior restraint on [Gjovik]” and the decision was “entered in error.” (Id).5
14   The Superior Court found no evidence to justify a five-year order, nor any evidence of directed

15   conduct to justify any order restricting distance and other prohibitions of direct contact. (KCSC

16   Order pg 9).6 The Superior Court found “no evidence of actual malice” by Gjovik and instead
     said the evidence about Gjovik’s “expression of opinion… was not proved to be motivated by
17
     malice, but rather by activism.” (Id).7
18
               Scarlett did not file Motion for Reconsideration or Notice of Appeal.8 The Superior Court
19
     transmitted their mandate to the Court of Limited Jurisdiction on Nov 17 2022.9
20
21
                             2. Remand Leading to Additional Proceedings
22
23   3
         Gjovik v state of Washington, etc all, 2:22-CV-00807-RAJ-BAT, US DISTRICT COURT IN THE WESTERN DISTRICT
     OF WASHINGTON
24   4
       Scarlett v Gjovik, KCSC, No 22-2-03849-7 SEA, Order, September 26 2022
     5
25     Scarlett v Gjovik, KCSC, No 22-2-03849-7 SEA, Order, September 26 2022
     6
       Scarlett v Gjovik, KCSC, No 22-2-03849-7 SEA, Order, September 26 2022, “Despite the lack of “direct”
26   communication to Petitioner, as conceded under oath, the court imposed distance restrictions, prohibitions against
     surveillance, and prohibitions against direct/third person communications to Petitioner. The court made no specific
27   findings to support the extra length of the order (five years).” Pg9
     7
       Scarlett v Gjovik, KCSC, No 22-2-03849-7 SEA, Order, September 26 2022
28   8
     9
       LRALJ 9.2 Entry of Decision; LCR 59
       LRALJ 12.1 Mandate; Scarlett v Gjovik, KCSC, No 22-2-03849-7 SEA, Mandate of Superior Court on RALJ
     Appeal

     NO. 22CIV01704KCX                                                               ASHLEY M. GJOVIK (PRO SE)
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                    King County District Court, Court of Limited Jurisdiction
              RE: REVERSE & REMAND OF ANTI-HARASSMENT ORDER AGAINST ASHLEY GJOVIK

 1            The Superior Court’s Mandate is unclear if it calls for a new trial in the Court of Limited
 2   Jurisdiction. RALJ 9.1 states that the Superior Court may “reverse, affirm, or modify” OR

 3   “remand the case.” The use of “or” instead of “and” implies a reverse of the decision does not

 4   call for further proceedings.10 However, the Mandate itself states the lower court decision is
     reversed AND “this Matter is remanded to the Court of Limited Jurisdiction.”11
 5
              Gjovik files this Notice in anticipation of the potential for further proceedings. However,
 6
     if the Court of Limited Jurisdiction agrees with the Superior Court decision, & simply reverses
 7
     the prior decisions, this Notice will be moot.
 8
 9        3. Notice of Intent to Re-Up Prior Filed Motions to Dismiss with Prejudice
10
              If the remand of the case by the Superior Court leads to additional proceedings in the
11   Court of Limited Jurisdiction, Gjovik submits notice of her intent to preserve a number of
12   previously filed motions & to file additional motions on the matter. Gjovik intends to preserve
13   her previously filed motions, which were never ruled on by the Court of Limited Jurisdiction,
14   including under RCW 4.105.010-90312 & RCW 4.24.510.13 Gjovik also plans to request payment
15   from Scarlett for Gjovik’s legal costs, attorney’s fees, & other expenses from dealing with this

16   ordeal following the meritless & retaliatory petition & smear campaign by Scarlett. (RCW

17   4.24.51014; RCW 4.105.09015).
              Gjovik plans to modify her motion for RCW 4.24.510, a witness protection statute, and
18
     request the full statutory fine of $10,000.00 from Scarlett instead of Gjovik’s previous good faith
19
     waiver of the fine last February16 as Scarlett has continued to harass, defame, and intimidate
20
21
     10
        RALJ 9.1(e)
22   11
        Scarlett v Gjovik, KCSC, No 22-2-03849-7 SEA, Mandate of Superior Court on RALJ Appeal
     12
23      RCW 4.105 UNIFORM PUBLIC EXPRESSION PROTECTION ACT
     13
        RCW 4.24.510 Communication to government agency or self-regulatory organization—Immunity from civil
24   liability. “A person who communicates a complaint or information to any branch or agency of federal, state, or
     local government, or to any self-regulatory organization that regulates persons involved in the securities or futures
25   business and that has been delegated authority by a federal, state, or local government agency and is subject to
     oversight by the delegating agency, is immune from civil liability for claims based upon the communication to the
26   agency or organization regarding any matter reasonably of concern to that agency or organization.”
     14
        RCW 4.24.510 “A person prevailing upon the defense provided for in this section is entitled to recover expenses
27   and reasonable attorneys' fees incurred in establishing the defense”
     15
        RCW 4.105.090 Costs, attorneys' fees, and expenses. “the court shall award court costs, reasonable attorneys'
28   fees, and reasonable litigation expenses related to the motion”
     16
        RCW 4.24.510: “A person prevailing upon the defense provided for in this section is entitled to recover expenses
     and reasonable attorneys' fees incurred in establishing the defense and in addition shall receive statutory damages

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                    King County District Court, Court of Limited Jurisdiction
              RE: REVERSE & REMAND OF ANTI-HARASSMENT ORDER AGAINST ASHLEY GJOVIK

 1   Gjovik following the order against Gjovik, including reporting one of Gjovik’s federal legal
 2   filings to a webservice as “child porn.”

 3           Notes on the intent of RCW 4.24.510 explains: “SLAPP suits are designed to intimidate

 4   the exercise of First Amendment rights and rights under Article I, section 5 of the Washington
     state Constitution.” The Superior Court found that not only were Scarlett’s allegations not
 5
     supported by evidence to prove unlawful conduct, but the outcome of Scarlett’s petition, (which
 6
     Gjovik additionally argues was obtained by fraud, surprise, & other misconduct by Scarlett) did
 7
     in fact chill Gjovik’s “exercise of First Amendment rights and rights under Article I, section 5 of
 8
     the Washington state Constitution”.
 9           Gjovik’s initial RCW 4.105 Anti-SLAPP motion rightful explained (now affirmed in part
10   by the Superior Court judge):
11           “Scarlett failed to establish a prima facie case as to each essential element of
12           harassment, thus … the case should be dismissed with prejudice & noting … that
             Gjovik prevailed under the motion. Scarlett’s request for a harassment order against
13           Gjovik is not grounded in fact or law. The request also serves an improper purpose
             as it attempts to further intimidate and retaliate against a federal and California state
14           witness, victim, and informant. Scarlett’s request is an extension of her concerted
15           effort to coerce Gjovik to withdraw, alter, and omit statements to government
             bodies, statements on issues under consideration by government bodies, and to
16           chill, if not restrict, Gjovik’s First Amendment free speech on matters of public
             concern…. UPEPA (RCW 4.105.010) applies to no-contact orders (9) if the
17           requested order against Respondent arises from any act of Respondent, related to
18           the gathering, receiving, posting, or processing of information for communication
             to the public, for the creation, dissemination, exhibition, or promotion of a literary,
19           political, or journalistic work regardless of the means of distribution, no matter the
20           method or extent of distribution.”
             (Feb 14 2022 Motion for Continuance & Notice of Intent to File Motion for Anti-
21           SLAPP, pg 2-3).
22   Gjovik’s initial 4.24.510 motion also rightfully captured Scarlett’s intent with this litigation:
23           “Scarlett threatened, harassed, and coerced Gjovik to withdraw allegations about
24           her from Gjovik’s government charges to at least the U.S. NLRB. Scarlett is using
             this this petition to further intimidate Gjovik and is using a civil action to deter
25           Gjovik who simply wishes to report information to federal agencies. RCW 4.24.510
             was enacted to protect whistleblowers exactly like Gjovik from actors exactly like
26           Scarlett.”
27           (Feb 14 2022, Motion to Dismiss due to Public Policy, pg 3)

28
     of ten thousand dollars. Statutory damages may be denied if the court finds that the complaint or information was
     communicated in bad faith.”

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                     King County District Court, Court of Limited Jurisdiction
                RE: REVERSE & REMAND OF ANTI-HARASSMENT ORDER AGAINST ASHLEY GJOVIK

 1   Indeed, Gjovik objected in this court room on March 1 2022 that Scarlett was “trying to compel
 2   [Gjovik] to testify on [Gjovik’s] federal charges” which named Scarlett as an agent of Apple in

 3   Apple’s retaliation against Gjovik for Gjovik’s protected activity.

 4              During trial, Gjovik introduced numerous witness statements and evidence of posts and
     communications from third parties concurring Gjovik’s view on this matter & that Scarlett was
 5
     indeed the one attacking Gjovik, not the other way around. (2/14-3/1/2022 Witness Statements;
 6
     Gjovik Evidence; DARVO addendum). Scarlett’s response was generally the same to all parties
 7
     – Scarlett would then claim her conduct towards Gjovik was justified because, she claimed,
 8
     Gjovik’s lawsuits & charges against Apple were “meritless,” “perjury,” and “lies.” Scarlett has
 9   not been able to find a single 3rd party willing to make a statement under oath in support of
10   Scarlett’s allegations against Gjovik. In fact, before Gjovik was served for this matter, one of
11   Scarlett’s own named witnesses suggested Gjovik request a restraining order against Scarlett, not
12   the other way around.
13
14                       4. Intention to File New Motions to Dismiss & Vacate
15
                A significant amount of additional evidence has come to light following the March 1
16
     2022 decision. Gjovik intends to file a motion for the court to relieve Gjovik from a final
17
     judgment, order, and/or proceeding: due to mistake, surprise, & irregularity in Scarlett obtaining
18
     the judgement/order (CRLJ60-b-1); due to fraud, fraud on the court, and other misconduct by
19   Scarlett (CRLJ60-b-4); the judgement as void due to lack of subject matter jurisdiction, inability
20   to join indispensable party (Apple Inc), and due to decision by Superior Court reversing prior
21   judgement (CRLJ60-b-5); & other reasons justifying relief from the judgement/proceedings
22   (CRLJ60-b-11). 17 This includes misconduct by Gjovik’s attorney related to the March 1 2022
23   hearing, including but not limited to, Gjovik’s attorney failing to even notify Gjovik that Scarlett
24   offered to settle the matter outside court before the hearing. Gjovik’s attorney, Mr. Blair,

25   received a warning from the Washington Bar Association for that misconduct.18
                Gjovik also plans to motion for dismissal due to Scarlett’s failure to state a claim upon
26
     which relief can be granted & failure to join a party indispensable to the matter at hand (e.g.
27
28   17
          CRLJ 60 RELIEF FROM JUDGMENT OR ORDER
     18
          Washington State Bar Association, ODC File No. 22-00809

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                    King County District Court, Court of Limited Jurisdiction
              RE: REVERSE & REMAND OF ANTI-HARASSMENT ORDER AGAINST ASHLEY GJOVIK

 1   Apple Inc). CRLJ12(h)(2). Scarlett’s own filings and testimony, and the District & Superior
 2   court records revealed all of the supposedly “private” information Scarlett protested was actually

 3   public information and/or shared broadly by Scarlett herself including names, criminal histories,

 4   and quotes made by Scarlett to large publishers and the press. In fact, in Superior Court, Scarlett
     would also admit her allegations of extortion and blackmail by Gjovik were based on a
 5
     conversation Scarlett was not part of, nor had she viewed, and upon viewing she realized “that it
 6
     was not Ms. Gjovik's idea to extort.” (Scarlett’s Brief)19 Further, Scarlett’s allegations about
 7
     Gjovik related to Wikipedia, were not only baseless but actually more fraud, as it was Scarlett
 8
     who had made harassing and disparaging edits to Gjovik’s biography article for nearly a year
 9   before finally getting caught & banned by Wikipedia on November 21 2022. 20 21
10           Gjovik also intends to motion for dismissal with prejudice due to lack of subject matter
11   jurisdiction, something she objected to frequently in all hearings she was present at & has her
12   arguments have been further strengthened by evidence acquired after the March 1 2022 hearing.
13   CRLJ12(h)(3). There is clearly federal preemption of this matter under 18 U.S. Code § 1514 &
14   the All Writs Act (as well as RCW 5.105.010(2)(b-c) & RCW 4.24.500).

15           There is additionally no subject matter for this court under RCW 49.32.050 & the

16   Garmon & Machinist doctrines of NLRA preemption. (see Superior Court Appellant Brief).
     These arguments are further strengthened by the discovery that Apple’s defense lawyers (the
17
     firm MWE) requested copies of the recordings from the hearings in this matter, no doubt to make
18
     their own transcripts & use them in Apple’s defense of Gjovik’s allegations of harassment by
19
     Scarlett on behalf of Apple. If there was no overlap of Gjovik’s pending NLRB (and other
20
     agency) charges which named Scarlett, Apple’s lawyers would have no interest in going to the
21
22
23   19
        Scarlett v Gjovik, KCSC, No 22-2-03849-7 SEA, Brief of the Appellee (Scarlett), September 26 2022
     20
24      Wikipedia editors/administrators: “We'll start with the obvious connection here: CodeHitchhiker is Cher Scarlett
     (voluntarily acknowledged, verified by GorillaWarfare)… The fact is clear here that they are the same person…. I'd
25   call this Likely from a technical perspective….I am blocking CodeHitchhiker indefinitely as a suspected sockpuppet.
     Due to the BLP implications here, I will blank and categorize her userpage in lieu of tagging. @CodeHitchhiker:
26   This is a shame.”
     https://en.wikipedia.org/w/index.php?title=Wikipedia:Sockpuppet_investigations/SquareInARoundHole&oldid=112
27   3071985
     21
        Wikipedia editors/administrators: “It seems Bobrossghost was also used for months for socking at Ashley Gjøvik.
28   We can say that Gjøvik was herself not wrong by accusing SquareInARoundHole of harassment.[17] This whole
     chapter looks like a clear case of WP:NOTHERE.”
     https://en.wikipedia.org/wiki/Wikipedia:Sockpuppet_investigations/SquareInARoundHole/Archive

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                     King County District Court, Court of Limited Jurisdiction
              RE: REVERSE & REMAND OF ANTI-HARASSMENT ORDER AGAINST ASHLEY GJOVIK

 1   trouble of requesting, listening to, and transcribing hours of hearings on this matter. (see CLJ
 2   Docket “Request for Copy” on 4/6/22 & 3/4/22).

 3
                                                       7. Conclusion
 4
              Finally, Gjovik also requests for Judge O’Toole’s consideration of referring this matter to
 5
     the local District Attorney’s office for review of possible witness intimidation and perjury
 6
     charges against Scarlett under RCW 9A.72,22 RCW 9.62.010,23 or similar due to Scarlett’s
 7   egregious misconduct in this matter and her history of self-admitted fraud and financial crimes
 8   again governments and institutions. Perhaps most disturbing in this matter was Scarlett’s ex parte
 9   testimony on February 1 2022 where she claimed the US NLRB suggested she seek legal or law
10   enforcement intervention against Gjovik – an allegation that the US NLRB Asst. General
11   Counsel denied in writing, saying they never told Scarlett anything about the merits of my cases
12   or gave her any advice on taking any sort of legal action against me. (see Superior Court

13   Exhibits).

14            In conclusion, I submit this notice of intention to file additional motions if further
     proceedings are called for. If Scarlett would prefer to request dismissal of her petition & this
15
     case, Gjovik would agree to have the matter dismissed.24
16
17
18   I declare under penalty of perjury under the laws of the state of Washington that the foregoing is
     true and correct.
19
     Respectfully submitted,
20
21
22   Ashley M. Gjovik (pro se)
     Dated: December 1 2022
23
24
     22
25      RCW 9A.72 PERJURY AND INTERFERENCE WITH OFFICIAL PROCEEDINGS
     23
        RCW 9.62.010 Malicious prosecution.
     24
26      CRLJ 41 DISMISSAL OF ACTIONS: (1) Mandatory. Any action shall be dismissed by the court: (i) By
     stipulation. When all parties who have appeared so stipulate in writing; or (ii) By plaintiff before resting. Upon
27   motion of the plaintiff at any time before plaintiff rests at the conclusion of plaintiff’s opening case. (2) Permissive.
     After plaintiff rests after plaintiff’s opening case, plaintiff may move for a voluntary dismissal without prejudice
28   upon good cause shown and upon such terms and conditions as the court deems proper.
     https://www.courts.wa.gov/forms/?fa=forms.contribute&formID=60
     https://www.courts.wa.gov/forms/documents/FL%20All%20Family%20163%20Motion%20for%20Dismissal.doc

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     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
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                            KING COUNTY DISTRICT COURT
                                STATE OF WASHINGTON
                         EAST DIVISION, REDMOND COURTHOUSE


Cher Swan Scarlett                                   No. 22CIV01704KCX
                        Plaintiff(s),
                                                     JUDICIAL REVIEW
        v.

Ashley Marie Gjovik
                        Defendant(s).

The Court has reviewed the decision of the King County Superior Court issued on appeal from the trial
court (King County District Court). The Superior Court found that the protection order issued in this case
was unlawful for two reasons: first, because it was improperly issued for 5 years (rather than 1 year)
without the necessary findings to permit a 5-year order, and second, because the "course of conduct" at
issue in the case involved constitutionally protected free speech. The Superior Court further elaborated
that of the two categories of speech considered by the Court at the hearing---(a) reposting by the
Respondent of public records and other information already in the public domain, and (b) the opinions
posted by the Respondent---both were constitutionally protected free speech, and so neither could form
the basis for the "course of conduct" required to support an anti-harassment protection order.

The Court has also received a document filed by the Respondent which outlines numerous motions for
dismissal, sanctions, and other forms of relief. The Court has reviewed and considered these motions.
However, in light of the Superior Court's ruling on appeal, this Court finds that dismissal without
prejudice is the appropriate remedy, due to the Superior Court's opinion issued in the RALJ appeal.

WHEREFORE: In accordance with the King County Superior Court's opinion on appeal, the protection
order is VACATED and the case is DISMISSED without prejudice. The Respondent's additional motions
are DENIED.




Dated: December 12, 2022
                                                         Judge E. Rania Rampersad


Communication from Court – Judge
KCDC November 2017
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                                             L
     DECLARATION OF ASHLEY GJOVIK IN SUPPORT OF PLAINTIFF’S      APRIL 24 2024
     MOTION TO STRIKE 3:23-CV-04597-EMC
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                              No. 22-430

         In the Supreme Court of the United States


                CHARLES BARTON and NATHAN SANDERS,
                                                      Petitioners,
                                   v.
                           STATE OF TEXAS,
                                                     Respondent.


                On Petition for Writ of Certiorari to the
                 Court of Criminal Appeals of Texas



            Brief of Amicus Curiae Electronic Frontier
              Foundation in Support of Petitioners


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        Alice Zeoli, a leading American Tibetan Buddhist reli-
        gious figure. United States v. Cassidy, 814 F. Supp. 2d
        574, 578-579 (D. Md. 2011). The prosecutors in that
        case argued that the tweets violated a federal statute
        prohibiting “a course of conduct [using the mail or in-
        teractive computer services] that caused substantial
        emotional distress to a person . . . with the intent to
        harass and cause substantial emotional distress.” Id.
        at 580.
            Yet the court concluded that the statute was “inva-
        lid as applied” to Cassidy’s speech. Id. at 587. The
        court noted that the messages were sent to a broad au-
        dience rather than being “e-mails or phone calls di-
        rected to a victim.” Id. at 585-86. It further explained
        that the statute “sweeps in the type of expression that
        the Supreme Court has consistently tried to protect.”
        Id. at 586. “[T]he Supreme Court has consistently clas-
        sified emotionally distressing or outrageous speech as
        protected, especially where that speech touches on
        matters of political, religious or public concern.” Id. at
        582 (citing, among other cases, Hustler v. Falwell and
        Snyder v. Phelps).
           The Cassidy court therefore held, correctly, that
        the First Amendment protected Cassidy’s speech. But
        again, the Texas Court of Criminal Appeals’ reasoning
        would authorize punishing such speech under the
        Texas statute, simply by labeling it “conduct.”

           D. Criticism of Political Activists
            Harassment laws have likewise been used to re-
        strict speech criticizing political activists. Thus, for in-
        stance, a Washington state district court recently con-
        cluded that a political activist’s criticism of a former
        fellow activist could be harassment that would justify
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                                     11

        a broad restriction on speech. See Scarlett v. Gjovik,
        No. 22-2-03849-7 SEA, 2022 WL 4541046, at *4 (Wash.
        Super. Ct. Sep. 26, 2022). Cher Scarlett and Ashley
        Gjovik had co-founded a whistleblower campaign
        against Apple, id. at *2, but had a falling out, and Scar-
        lett sought an anti-harassment order based on Gjovik’s
        public online speech about her. Id.
            The district court concluded that Gjovik’s speech
        was “clearly designed to upset Ms. Scarlett,” that
        “[f]ree speech can be curtailed in many ways,” and that
        a “course of conduct” can be restricted when it is “de-
        signed to alarm, annoy, or harass.” Id. at *4. Because
        of this, the court granted an injunction barring Gjovik
        from “mak[ing] any statements or posts or other pub-
        lications” about Scarlett on “any social media or inter-
        net or other medium.” Id. And the court did not rely on
        any finding that the speech was libelous: Rather, it
        reasoned that, “[w]hether it’s true or not doesn’t mat-
        ter in an antiharassment order.” Id.
           But on appeal, the Superior Court vacated the or-
        der:
           The lower court in this matter seemed to require
           a “lawful purpose” behind the Respondent’s
           postings of public records. But our state consti-
           tution does not allow for that consideration or
           restriction on free speech . . . . There is no cate-
           gorical “harassment exception to the First
           Amendment’s free speech clause.”
        Id. at *6 (citations omitted). Under the Texas decision
        below, such First Amendment protections would be
        unavailable, again because such speech would be la-
        beled unprotected “conduct.” See also McCauley v.
        Phillips, No. 2016-70000487 (Cal. Super. Ct. Sacra-
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                                    12

        mento Cty. Sept. 8, 2016) (issuing a similar anti-har-
        assment injunction on behalf of one political activist
        against another), appeal dismissed on procedural
        grounds, No. C083588, 2018 WL 3031765 (Cal. Ct.
        App. June 19, 2018); Volokh, 45 Harv. J.L. & Pub. Pol.
        at 158 (discussing McCauley in more detail).

           E. Criticism of Professionals or Businesses
            Overbroad anti-harassment statutes are also used
        to silence criticism of professionals and businesses, in
        violation of the First Amendment. In Welytok v. Ziol-
        kowski, for instance, a Wisconsin man attempted to
        publicize an attorney’s record of having been sus-
        pended for three years from the practice of law for de-
        frauding a client. 312 Wis. 2d 435, 446 (2008). Wiscon-
        sin’s harassment statute restricts speech that has “no
        legitimate purpose” and is “inten[ded] to harass or in-
        timidate another person.” Id. at 453. The appeals court
        affirmed the trial court’s injunction against the
        speech, id. at 459, on the grounds that the defendant
        was motivated by hostility arising out of a past real
        estate lawsuit in which the defendant was defeated by
        the plaintiff. Id. at 460-61. See also Civil Harassment
        Restraining Order, Gabueva v. Romanenko, No. CCH-
        19- 581819, at 2 ¶ 6.a.4 (Cal. Super. Ct. S.F. Cty. July
        26, 2019) (involving a similar anti-harassment injunc-
        tion issued on behalf of a lawyer, against another law-
        yer who had been criticizing her); Volokh, 45 Harv.
        J.L. & Pub. Pol. at 158-59 (discussing Gabueva in more
        detail).
           Yet accurate information about an attorney’s disci-
        plinary record like that in Welytok is generally consti-
        tutionally protected, and potentially valuable to con-
        sumers. Business review sites such as Yelp are
